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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

LULAC, et. al.,                                    §
                                                   §
        Plaintiffs                                 §
                                                   §
Eddie Bernice Johnson, Sheila Jackson-Lee           §
     Alexander Green, and Jasmine                  §
           Crockett                                §
                                                   §
        Intervenors                                §
                                                   §
v.                                                 §    Case No.: EP-21-CV-00259-DCG-
                                                   §         JES-JVB [Lead Case]
GREG ABBOTT, in his official capacity              §
    As Governor of Texas, et. al.                  §
                                                   §
        Defendants

         INTERVENORS EDDIE BERNICE JOHNSON, SHEILA JACKSON- LEE,
           ALEXANDER GREEN, AND JASMINE CROCKETT RESPONSE TO
             DEFENDANTS’ OPPOSITION TO MOTION TO INTERVENE

     Defendants incorrectly assert that Intervenors have failed to establish a Right to
     Intervene.
         Defendants incorrectly assert that Intervenors have failed to establish a right to intervene.

A party seeking to intervene as of right must satisfy four requirements: (1) The application must

be timely; (2) the applicant must have an interest relating to the property or transaction that is the

subject of the action; (3) the applicant must be so situated that the disposition of the action may,

as a practical matter, impair or impede its ability to protect its interest; and (4) the applicant's

interest must be inadequately represented by the existing parties to the suit. New Orleans Pub.

Serv., Inc. v. United Gas Pipe Line Co.,732 F.2d 452, 463 (5th Cir.) (en banc) (quoting

International Tank Terminals, Ltd. v. M/V Acadia Forest,579 F.2d 964, 967 (5th Cir.

1978)). Intervenors have demonstrated the elements for intervention as will be shown. This has a

legal effect. The Eleventh Circuit has stated that, “[o]nce these prerequisites to intervention are

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established, the court has no discretion to deny the motion.” United States v. Georgia, 19 F.3d

1388, 1393 (11th Cir. 1994) (per curiam). Because Intervenors clearly establish each element, this

Court should grant its Motion.

I.      Intervenors may intervene as a matter of right pursuant to Rule 24(a)(2).

         Intervenors may intervene as a matter of right. A party may intervene as a matter of right

if the party “claims an interest relating to the property or transaction that is the subject of the action,

and is so situated that disposing of the action may as a practical matter impair or impede the

movant's ability to protect its interest, unless existing parties adequately represent that interest.”

Fed. R. Civ. P. 24. In a similar issue, the Northern District of Florida permitted Congresswoman

Brown to intervene in a redistricting case as a matter of right because her congressional district

was being challenged. Johnson v. Mortham, 915 F. Supp. 1529, 1538 (N.D. Fla. 1995). The court

noted Congresswoman Brown had personal interest in the litigation and she had “a direct,

substantial, and legally protectable interest in the litigation.” Id. at 1538. The court quoted the

Fifth Circuit to note that “[e]lected officials have personal interests in their office sufficient to give

them standing when the district they represent is subject to a constitutional challenge.” See League

of United Latin Am. Citizens, Council No. 4434 v. Clements ("LULAC I"), 884 F.2d 185, 188 (5th

Cir. 1989)1. Those courts determined because of the nature of the interest it was irrelevant whether

another party was able to represent the Congresspersons interest. Constitutional challenges of the

areas where the Congresspersons districts are located are being made in this litigation and the

Congresspersons themselves also make constitutional claims relating to their districts.

II.      As Members of Congress and the state house of representatives, Plaintiff- Intervenors’
     issues go without adequate protection.

         Not only does Intervenors have a direct, substantial, and legally protectable interest in this

case, that interest is not protected by any other party. As the Northern District of Florida found,


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Congresspersons whose districts are challenged have a personal interest and may intervene as of

right without regard to whether another entity could represent them. Johnson, 915 F. Supp. at 1538.

The Johnson court did as the 3-Judge panel did in the Texas 2011 case, it permitted

Congresswoman Brown and the NAACP to intervene in that case. The logic is that another cannot

adequately represent the interest of elected officials is stronger when the group at issue is a non-

partisan association instead of the government. Yet, Defendants ignore the teaching of Johnson

and assume that organizations that represent African-Americans must necessarily and completely

represent the interests of all other African-Americans. ECF 116 at 4-5, 8, 10, This is apparently in

disregard of the fact that in this very same litigation we have the Mexican-American Legal Defense

Fund, the Mexican-American Legislative Caucus (MALC) and Representative Trey Martinez-

Fischer, a member of MALC. Importantly Martinez-Fischer filed on the 13th of December, only 2

days prior to these Intervenors. He is a State Representative as is Intervenor Crockett. Defendants

go so far as to term the notion that Intervenors may have concerns particular to them or more

expansive than other African-Americans in Texas as “illogical.” Id. at 10. We have long since been

warned that treating individuals as monoliths destroys “the dignity of the individual” and

encourages and opens “the door to discriminatory actions against other minority groups in the

passions of tomorrow." Korematsu v. United States, 323 U.S. 214, 240 (1944) (Murphy, J.,

dissenting). Defendants note that there is such a difference between the pleadings between the

applicant intervenors and the NAACP that they may not agree with what was filed. ECF 116 at

10 n.6.

          “Where the other parties may agree to injunctions or settlement not in the interests of

intervenors, intervenors have a right to protect themselves.” Sierra Club, Sierra Club v. Espy, 18

F.3d 1202, 1205 (5th Cir. 1994). But Defendants elide another crucial point. Only Intervenors



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challenge the changes made to Congressional District 7 or the racial gerrymanders as described in

the proposed complaint. ECF 91 25, 28-9. This is just one such difference with the contentions of

other plaintiffs. The logic of Defendants’ claims would extend so far as to prevent the bringing

of claims that no other party presents. Whether lead counsel heads another organization in the

litigation is not relevant. Defendants would rewrite Rule 24(a) to be a rule to prevent guilty

Defendants from having to answer for their behavior in court. This Court should decline to rewrite

the rule.

III.      Intervenors have timely filed their complaint.

          It is also imperative to note that Plaintiffs-Intervenors filed their complaint timely.3

“Federal courts should allow intervention where no one would be hurt, and the greater justice could

be attained.” Doe, 256 F.3d at 375. “The requirement of timeliness is not a tool of retribution to

punish the tardy would-be intervener, but rather a guard against prejudicing the original parties by

the failure to apply sooner.” Sierra Club v. Espy, 18 F.3d 1202, 1205 (5th Cir. 1994)(emphasis

added). “The timeliness of a motion to intervene should be determined on a case-by-case

basis.” Edwards v. City of Houston, 78 F.3d 983, 1000 (5th Cir. 1996). The facts of the instant case

strongly urge intervention.

          In considering the timeliness of Intervenors’ motion, this Court should consider that it

issued an order to consolidate case 3:21-CV-00306-DCG-JES-JVB on December 15, 2021. ECF

92. It should be noted that the consolidated case was only filed two days prior on December 13,

2021. 3:21-CV-00306-DCG-JES-JVB ECF 1. Accordingly, this Court must determine whether the

instant motion is timely given that it was filed a mere two days after a motion was filed to

consolidate another case case and less than 30 days after the original cases were consolidated. This

Court should, therefore, find the motion to be timely. All the more so considering counsel for



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Defendants informed counsel for Intervenors that if the Congresspersons filed a complaint,

Defendants would move to consolidate. In the interest of judicial economy and mindful that Courts

“should discourage premature intervention[s] that wastes judicial resources,” Plaintiffs-

Intervenors chose intervention in the same manner they did last time—after the venue was

established. Espy, 18 F.3d at 1206. Intervenors’ complaint was thus filed timely.

       VII. The Court should grant permissive intervention to the Intervenors as no party
is prejudiced.
        Because the Intervenors have demonstrated that they are entitled to intervention of right,

they are surely deserving of permissive intervention. A court may permit a party to intervene on

a timely motion that establishes that party “has a claim or defense that shares with the main action

a common question of law or fact.” Fed. R. Civ. P. 24(b)(2). This intervention may not “unduly

delay or prejudice the adjudication of the rights of the original parties.” Id. Mindful that federal

“courts should allow intervention where no one would be hurt and the greater justice could be

attained," (Espy, 18 F.3d at 1205) this Court should grant Intervenors permissive intervention as

well as the intervention as of right.

           1. Unique circumstances exist militating in favor of intervention.

       The very nature of this case militates in favor of intervention. The current case is not a run

of the mill litigation. It is a case challenging the State’s redistricting plan. And the challenge is

being made by sitting legislators45. Because of the teaching of the Johnson court, that special

connection to the districts strongly militates in favor of intervention. Moreover, no party is

prejudiced by the inclusion of Intervenors. Defendants premise their contention that they will be

prejudiced principally on assumptions made about Intervenors’ future litigation strategy. These

assumptions are unfounded. Defendants state that, “[t]he addition of four more parties undermines

prior negotiations that took place between the parties where many issues were agreed upon.6” ECF



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116 at 5. One might refer to this as Defendants ‘scheduling order.’ Yet, Defendants acknowledged

in open court that it was aware of Plaintiff-Intervenor's interest in the case and were preparing for

possible intervention. Intervenors further call to the Court's attention that the Certificate of

Conference for Intervenors’ Complaint notes that the State represented to counsel that if a lawsuit

was filed, they would move to join it. ECF 91.

       Because Intervenors timely filed their Complaint and no party will be prejudiced by its

intervention, this Court should grant Intervenors Motion to Intervene as a right. Alternatively, this

Court should grant Intervenors Motion to Intervene permissively.


Dated: January 5, 2022

                                              Respectfully Submitted,

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